       Case 1:21-cr-00073-BAH          Document 134         Filed 01/22/25   Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,


                        v.                           Criminal Action No. 21-00073 (BAH)

 NICHOLAS DECARLO and                                Judge Beryl A. Howell
 NICHOLAS OCHS,

                        Defendants.

                               MEMORANDUM AND ORDER

       The United States government moves to dismiss, with prejudice, the nine-count

Superseding Indictment, ECF No. 131, against defendants Nicholas DeCarlo and Nicholas Ochs.

Gov’t’s Mot. to Dismiss Second Superseding Indictment with Prejudice Pursuant to Federal Rule

Criminal Procedure 48(a) (“Gov’t’s MTD”), ECF No. 133. These two defendants, by their own

admission, engaged in criminal assault against law enforcement officers by throwing smoke bombs

at officers, as well as property damage and theft, see Statement of Offense of Nicholas DeCarlo

providing “factual basis for the defendant's guilty plea” (“DeCarlo SOF”) Introduction & ¶¶ 12,

18, 19, ECF No. 79; Statement of Offense of Nicholas Ochs providing “factual basis for the

defendant's guilty plea” (“Ochs SOF”) Introduction & ¶¶ 13, 19, 20, ECF No. 82, due to their

belief in the falsehood disseminated by political leaders, and others, that the 2020 presidential

election was “stolen,” see DeCarlo SOF ¶¶ 10, 21; Ochs SOF ¶¶ 11, 23, when no evidence of any

outcome-determinative election fraud has ever been uncovered, let alone confirmed, by any

federal, state, or local government agency or in any court of law.

       Nevertheless, for the reasons explained below, the government’s motion is granted in part

and denied in part, and the pending indictment against defendants is dismissed without prejudice.



                                                 1
       Case 1:21-cr-00073-BAH          Document 134        Filed 01/22/25     Page 2 of 8




I.     BACKGROUND

       The two defendants in this case, one of whom founded the Hawaii chapter of the Proud

Boys and served as a senior leader of the group, see Ochs SOF ¶ 8, both admitted, under oath, with

the advice of counsel, and pursuant to plea agreements they voluntarily entered with the

government, their criminal conduct at the U.S. Capitol on January 6, 2021. See Plea Agreement

Nicholas DeCarlo (“DeCarlo Plea”), ECF No. 77; Plea Agreement Nicholas Ochs (“Ochs Plea”),

ECF No. 81; DeCarlo SOF; Ochs SOF; Tr. of Plea Hr’g (“Plea Tr.”), ECF No. 116. Both men

admitted throwing smoke bombs at law enforcement while on the grounds of the Capitol, Plea Tr.

at 21:24-22:7, 29:16-30:2; DeCarlo SOF ¶ 12; Ochs SOF ¶ 13. Both men admitted to breaching

the Capitol building, Plea Tr. at 22:8-10, 30:6-8; DeCarlo SOF ¶ 13; Ochs SOF ¶ 14; using the

Capitol Building to meet up with other members of the Proud Boys while inside the building,

DeCarlo SOF ¶ 16; Ochs SOF ¶ 17; defacing the Capitol building, Plea Tr. at 25:23-26:3, 33:11-

21; DeCarlo SOF ¶ 18; Ochs SOF ¶ 19; and stealing equipment from law enforcement officers

responding to protect the building and its lawful occupants from the rioters, Plea Tr. at 26:11-14,

33:25-34:3; DeCarlo SOF ¶ 19; Ochs SOF ¶ 20.

       After defendants both pled guilty to one felony count of obstruction of an official

proceeding, in violation of 18 U.S.C. § 1512(c)(2), the remaining five charges against each

defendant were dismissed. See Tr. of Sent’g Hr’g at 81:13-17, ECF No. 110; see also Superseding

Indictment, ECF No. 68. Defendants each reported to prison, and, in accordance with the waivers

in their plea agreements, neither filed a direct appeal. United States v. DeCarlo, No. 21-cr-73,

2024 WL 4650993, at *5 (D.D.C. Nov. 1, 2024). In the wake of the Supreme Court’s decision in

Fischer v. United States, 603 U.S. 480 (2024), which limited application of the federal felony

obstruction statute to January 6-related conduct and was issued eighteen months after defendants’



                                                2
       Case 1:21-cr-00073-BAH          Document 134        Filed 01/22/25     Page 3 of 8




sentencing, this Court vacated defendants’ felony obstruction convictions, granting their motion

pursuant to 28 U.S.C. § 2255, ECF No. 112. See DeCarlo, 2024 WL 4650993. Roughly two

months later, on January 15, 2025, the government filed the pending Second Superseding

Indictment charging defendants with nine federal counts, including seven felonies: Conspiracy to

Prevent an Officer from Discharging Any Duties, in violation of 18 U.S.C. § 372; Assaulting,

Resisting, or Impeding Certain Officers (with intent to commit a felony), in violation of 18 U.S.C.

§ 111(a)(1); Assaulting, Resisting, or Impeding Certain Officers using a deadly and dangerous

weapon, in violation of 18 U.S.C. § 111(a)(1) and (b); Civil Disorder and Aiding and Abetting, in

violation of 18 U.S.C. § 231(a)(3), 2; Destruction of Government Property, in violation of 18

U.S.C. §§ 1361, 2; Theft of Government Property, in violation of 18 U.S.C. §§ 641, 2; Restricted

Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(1),

(b)(1)(A); Disorderly and Disruptive Conduct in a Restricted Buildings or Grounds with a Deadly

or Dangerous Weapon, in violation of 18 U.S.C. §§ 1752(a)(2), (b)(1)(A); Act of Physical

Violence in a Restricted Buildings or Grounds with a Deadly or Dangerous Weapon, in violation

of 18 U.S.C. §§ 1752(a)(4), (b)(1)(A). Second Superseding Indictment, ECF No. 131.

       In sum, the current posture of this case is that, even after the defendants’ admission of

egregious criminal conduct both outside and inside the U.S. Capitol Building on January 6, 2021,

and the government expending significant time and resources in identifying defendants,

investigating their criminal conduct, filing three separate indictments against defendants, see

Indictment, ECF No. 17; Superseding Indictment, ECF No. 68; Second Superseding Indictment,

ECF No. 131, negotiating and executing plea agreements with defendants, DeCarlo Plea; Ochs

Plea, and vigorously contesting their Section 2255 motion at every step, see Gov’t’s Opp’n to

Defs.’ Mot. to Treat Their Mot. Under 28 U.S.C. § 2255 as Conceded, ECF No. 115; Gov’t’s



                                                3
       Case 1:21-cr-00073-BAH           Document 134        Filed 01/22/25      Page 4 of 8




Opp’n to Defs.’ Req. for Release Pending Adjudication of their Mot. Under 28 U.S.C. § 2255,

ECF No. 117; Gov’t’s Opp’n to Defs.’ Mot. to Vacate Their Convictions Under 28 U.S.C. § 2255,

ECF No. 121, the government now seeks to dismiss the pending Second Superseding Indictment

against defendants under Federal Rule of Criminal Procedure 48(a), see Gov’t’s MTD.

II.    DISCUSSION

       Courts have limited power when the federal government decides to stop prosecuting a

criminal defendant. See, e.g., Wayte v. United States, 470 U.S. 598, 607-08 (1985) (recognizing

the government’s broad prosecutorial discretion); United States v. Fokker Servs. B.V., 818 F.3d

733, 742 (D.C. Cir. 2016) (recognizing same prosecutorial discretion in “decisions to dismiss

pending criminal charges”). At the same time, the Supreme Court and D.C. Circuit have both

recognized that the “leave of court” requirement in Rule 48(a) “obviously vest[s] some discretion

in the court.” Rinaldi v. United States, 434 U.S. 22, 29 n.15 (1977); United States v. Ammidown,

497 F.2d 615, 620 (D.C. Cir. 1973) (noting that this rule “gives the court a role in dismissals

following indictment”). This discretion is granted in part to “guard[] against abuse of prosecutorial

discretion.” Ammidown, 497 F.2d at 620. To ensure that the government’s request for dismissal

of criminal charges “sufficiently protects the public,” the government may be required to submit

“a statement of reasons and underlying factual basis,” which must be “substantial” to justify the

dismissal and not “a mere conclusory statement.” Id.

       Here, the government’s cursory motion provides no factual basis for dismissal. Instead,

the single paragraph explanation included in the one-page dismissal motion cites “as the reason

for this dismissal,” only a presidential proclamation “dated January 20, 2025, Granting Pardons

and Commutation of Sentences for Certain Offenses Relating to the Events at Or Near the United

States Capitol on January 6, 2021.” Gov’t’s MTD at 1. This cited proclamation, inter alia, directs



                                                 4
       Case 1:21-cr-00073-BAH           Document 134         Filed 01/22/25      Page 5 of 8




the Attorney General “to pursue [the] dismissal with prejudice to the government of all pending

indictments against individuals for their conduct related to the events at or near the United States

Capitol on January 6, 2021.” See PROCLAMATION, (Jan. 20, 2025) (capitalization in original),

available   at   https://www.whitehouse.gov/presidential-actions/2025/01/granting-pardons-and-

commutation-of-sentences-for-certain-offenses-relating-to-the-events-at-or-near-the-united-

states-capitol-on-january-6-2021/. The only reason provided for this instruction, as set out in the

Proclamation’s introduction, is the assertion that this action “ends a grave national injustice that

has been perpetrated upon the American people over the last four years and begins a process of

national reconciliation.” Id.

       No “national injustice” occurred here, just as no outcome-determinative election fraud

occurred in the 2020 presidential election. No “process of national reconciliation” can begin when

poor losers, whose preferred candidate loses an election, are glorified for disrupting a

constitutionally mandated proceeding in Congress and doing so with impunity. That merely raises

the dangerous specter of future lawless conduct by other poor losers and undermines the rule of

law. Yet, this presidential pronouncement of a “national injustice” is the sole justification provided

in the government’s motion to dismiss the pending indictment. See Gov’t’s MTD.

       Having presided over scores of criminal cases charging defendants for their criminal

conduct both outside and inside the U.S. Capitol Building on January 6, 2021, which charges were

fully supported by evidence in the form of extensive videotapes and photographs, admissions by

defendants in the course of plea hearings and in testimony at trials, and the testimony of law

enforcement officers and congressional staff present at the Capitol on that day, this Court cannot

let stand the revisionist myth relayed in this presidential pronouncement. The prosecutions in this

case and others charging defendants for their criminal conduct at the U.S. Capitol on January 6,



                                                  5
       Case 1:21-cr-00073-BAH          Document 134        Filed 01/22/25      Page 6 of 8




2021, present no injustice, but instead reflect the diligent work of conscientious public servants,

including prosecutors and law enforcement officials, and dedicated defense attorneys, to defend

our democracy and rights and preserve our long tradition of peaceful transfers of power—which,

until January 6, 2021, served as a model to the world—all while affording those charged every

protection guaranteed by our Constitution and the criminal justice system. As to these two

defendants specifically, both admitted their criminal conduct under oath, after consultation with

their attorneys, and pursuant to plea agreements to which they agreed. Bluntly put, the assertion

offered in the presidential pronouncement for the pending motion to dismiss is flatly wrong.

       Still, the D.C. Circuit has cautioned that a district court judge has “no power” “to deny a

prosecutor’s Rule 48(a) motion to dismiss charges based on a disagreement with the prosecution’s

exercise of charging authority.” Fokker, 818 F.3d at 742; id. at 737 (“It has long been settled that

the Judiciary generally lacks authority to second-guess those Executive determinations, much less

to impose its own charging preferences.”). Despite finding that the sole reason relied upon by the

government to dismiss the charges in this case—i.e., an incorrect assertion in the presidential

proclamation—is neither substantial nor factually correct, the government’s view of the public

interest does not clearly fall within the types of reasons found to provide legitimate grounds to

deny the government Rule 48(a) motion to dismiss charges. See United States v. Flynn, 507 F.

Supp. 3d 116, 130-31 (D.D.C. 2020) (collecting examples where a government motion to dismiss

should be denied as not serving “legitimate prosecutorial interests,” because the motion “was a

sham or deception,” “was based on ‘acceptance of a bribe, personal dislike of the victim, and

dissatisfaction with the jury impaneled,’” or was meant to favor “politically well-connected

individuals” (citations omitted)). Therefore, the government’s motion to dismiss the indictment is

GRANTED.



                                                 6
       Case 1:21-cr-00073-BAH          Document 134        Filed 01/22/25      Page 7 of 8




       Nothing about the government’s reasoning for dismissal warrants entry of dismissal with

prejudice, however. Dismissal with prejudice is a complete adjudication of the matter and would

bar any further prosecution of defendants for their offense conduct at issue. See Bd. of Trs. of the

Hotel & Rest. Emps. Local 25 v. Madison Hotel, Inc., 97 F.3d 1479, 1489 n.20 (D.C. Cir. 1996);

Brown v. Amtrak Corp., No. 03-7003, 2003 WL 22433755, at *1 (D.C. Cir. Oct. 27, 2023) (“A

dismissal ‘with prejudice’ is a final judgment on the merits which bars further litigation between

the same parties.” (citing Madison Hotel, 97 F.3d at 1489 n.20)); Reed v. Farley, 512 U.S. 339,

368 (1994) (Blackmun, J., dissenting) (“The dismissal with prejudice of criminal charges is a

remedy rarely seen in criminal law, even for constitutional violations.”). This result would be

improper here, particularly when defendants’ own admissions of criminal conduct, including

throwing smoke bombs at law enforcement officers who were trying valiantly to prevent rioters

from entering the Capitol Building, provides ample basis for criminal prosecution. See also Thorp

v. District of Columbia, 142 F. Supp. 3d 132, 145 (D.D.C. 2015) (noting that dismissal with

prejudice “reflect[s] on the merits of the underlying action” (quoting Brown v. Carr, 503 A.2d

1241, 1245 (D.C. Cir. 1986), and citing Kenley v. District of Columbia, 83 F. Supp. 3d 20, 42

(D.D.C. 2015)). Instead, the government’s reliance on a policy assertion made in the presidential

proclamation that such prosecutions should not be continued warrants only “render[ing] the

proceedings a nullity and leav[ing] the parties as if the action had never been brought,” Magliore

v. Brooks, 844 F. Supp. 2d 38, 46 (D.D.C. 2012) (quoting Thoubboron, 809 A.2d at 1210), which

is achieved by granting the government’s motion to dismiss without prejudice, see id.




                                                 7
       Case 1:21-cr-00073-BAH           Document 134      Filed 01/22/25      Page 8 of 8




III.    CONCLUSION AND ORDER

        For the reasons above, the government’s motion to dismiss, ECF No. 133, is granted to the

extent that the Second Superseding Indictment, ECF No. 131, against defendants is dismissed, but

denied as to the request that this dismissal be “with prejudice.” Accordingly, it is hereby—

        ORDERED that the Second Superseding Indictment against defendants, ECF No. 131, is

dismissed without prejudice; it is further

        ORDERED that the status conference scheduled for January 24, 2025, is VACATED;

and it is further

        ORDERED that the Clerk of the Court is directed to close this case.

        Date: January 22, 2025

                                                    __________________________
                                                    BERYL A. HOWELL
                                                    United States District Judge




                                                8
